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                                  APPENDIX B: SUMMARY OF DIVESTED J&J COMPANIES
                                           Based on Publicly Available Information

                                                                      Date / Time Frame of        Date / Time Frame Company
         Company Sold                         Buyer
                                                                    Acquisition by J&J Family               Divested
                                                                   1982 or earlier                March 2016
Tasmanian Alkaloids Pty. Ltd.     SK Capital Partners LP           Ex. 35 at 2 (1991 Australian   Ex. 35 at 6 (2016 Australian
                                                                   Financial Review Article)      Financial Review Article)
                                                                   November 1995                  October 2015
Cordis                            Cardinal Health Inc.             Ex. 35 at 9 (1995 NYTimes      Ex. 35 at 11 (J&J Press
                                                                   Article)                       Release)
                                                                   1997                           March-June 2014
Ortho-Clinical Diagnostics Inc.   Carlyle Group                    Ex. 35 at 12 (Ortho-Clinical   Ex. 35 at 13 (J&J Press
                                                                   Diagnostics Timeline)          Release)
                                  Gores Group LLC
                                                                   1987 or earlier                January 2013
Therakos Inc.                     (now owned by Mallinckrodt       Ex. 35 at 15 (1987 NYTimes     Ex. 35 at 17 (2013 Gores
                                  Pharmaceuticals, as of 2015,     Article)                       Group Press Release)
                                  Ex. 35 at 19 (2015 Gores
                                  Group Press Release))
                                  Water Street Healthcare
                                  Partners
                                                                   November 2002                  January 2011
OraPharma Inc.                    (now owned by Valeant            Ex. 35 at 21 (J&J Press        Ex. 35 at 23 (PE Hub Network
                                  Pharmaceuticals International,   Release)                       Press Release)
                                  Inc. as of 2012, Ex. 35 at 27
                                  (Valeant Press Release))
